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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 LEOPOLD LACOSTE, II                                                        CIVIL ACTION

 VERSUS                                                                        NO. 19-10333

 CAPTAIN DANIEL HONEYCUTT                                                SECTION: “G”(3)



                                          ORDER

       The Court, having considered the petition, the record, the applicable law and the Report

and Recommendation of the United States Magistrate Judge, and the failure of any party to file

any objection to the Magistrate Judge's Report and Recommendation, hereby approves the Report

and Recommendation of the United States Magistrate Judge and adopts it as its own opinion.

Accordingly,

       IT IS ORDERED that the federal application for habeas corpus relief filed by Leopold

Lacoste, II, is DISMISSED WITH PREJUDICE.
                                    25th day of September, 2020.
       NEW ORLEANS, LOUISIANA, this _____




                                           __________________________________________
                                           NANNETTE JOLIVETTE BROWN
                                           CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT
